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                              IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA,
Plaintiff,

v.                                                         CRIMINAL No. 23-003(FAB)

ALBACIDES DE PAZ,
Defendant.


                      MOTION FOR APPOINTMENT OF LEARNED COUNSEL

HONORABLE FRANCISCO A BESOSA
SENIOR JUDGE
FOR THE DISTRICT OF PUERTO RICO

       COMES NOW the Federal Public Defender for the District of Puerto Rico (“FPD”), court-

appointed counsel for defendant Albacides De Paz (Mr. De Paz) and very respectfully states,

alleges and prays as follows:

       1.       Mr. De Paz has been charged by way of an Indictment in Count One with a violation

to 8 U.S.C. §§ 1324(a)(1)(A)(i) and (a)(1)(B)(iv), smuggling of aliens into the United States resulting

in death and, in Count Two, with a violation to 8 U.S.C. §§ 1325(a) as an alien who entered the

United States at a place other than an authorized port of entry. ECF No. 11. As charged in Count

One, the offense is eligible for the death penalty.

       2.       On this day, the government has filed, at Docket Entry 17, a death penalty eligible

notice pursuant to Local Rule 144A(b).

       3.       In consultation with Death Penalty Resource Counsel, Mr. Steve Potolsky, we are

ready to make the following recommendations to the Court.
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                                                   2
        4.       The following attorney meets the requirements of being learned in the law of

capital cases with extensive capital trial experience and is familiar with the practice in our district.

We recommend:

        Laura Maldonado-Rodriguez
        PO Box 11533, San Juan, Puerto Rico 00922
        Physical address:
        G-14 O’Neill St. Suite A, San Juan, Puerto Rico 00918
        787-413-7771
        Email: lmr7771@aol.com

        5.       Attorney Maldonado was consulted and is available to assume the representation

of Mr. De Paz immediately.

        WHEREFORE, it is respectfully requested that counsel learned in the law of capital cases

be appointed in accordance with the recommendation made above.

        I HEREBY CERTIFY that on this date I filed the present motion with the Clerk of Court using

the CM/ECF system. All the parties of record will receive electronic notification of this filing.

        RESPECTFULLY SUBMITTED

        In San Juan, Puerto Rico, this 13th day of January 2023.

 ERIC A. VOS                                 ERIC A. VOS
 Federal Public Defender                     Federal Public Defender
 District of Puerto Rico                     District of Puerto Rico

 S/Hector L. Ramos-Vega                      S/Yasmin Irizarry
 Hector L. Ramos-Vega                        Yasmin Irizarry
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